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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                       CASE NO.: 18-cv-81258-MIDDLEBROOKS/BRANNON

   JUDITH MARILYN DONOFF,
   on behalf of herself and all others
   similarly situated,

          Plaintiff,

   v.                                                                    CLASS ACTION

   DELTA AIR LINES, INC.,

         Defendant.
   ____________________________________/

                                 SECOND AMENDED COMPLAINT

          Plaintiffs Walter Cappillo and Judith Marilyn Donoff, on behalf of themselves and all

   others similarly situated, sue Defendant Delta Air Lines, Inc. (“Delta”), and allege as follows.

                                           INTRODUCTION

          1.      This is a class action filed to redress injuries that Plaintiffs and a class of

   consumers have suffered, and will continue to suffer, as a result of Delta’s deceptive and illegal

   practices relating to trip insurance sold on its website, in violation of the Racketeer Influenced

   and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, et. seq., and state law.

          2.      On its website, and throughout the online process of purchasing a flight ticket and

   trip insurance, Defendant engages in a deceptive scheme to induce its customers to purchase

   travel insurance policies, while concealing its own financial interest in policy sales. Delta leaves

   the consumer with the false impression that the charge for trip insurance is a pass-through fee,

   i.e., a fee that is passed on to another entity and for which Delta has no financial interest. The net

   impression of Delta’s representations and omissions to consumers is that, when consumers
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   purchase a trip insurance policy, the funds to cover the policy’s cost go to an independent third-

   party insurance company, whom Delta identifies as the company brokering the policy for sale to

   the consumer. Indeed, Delta identifies this same insurance company as “the licensed producer,”

   or insurance agent, for the trip insurance policies. In reality, and despite lacking a license to

   broker insurance policies, Delta retains or ultimately receives an undisclosed kickback from

   every policy sold. Delta knows it lacks the required license to transact the business of insurance

   in any state, which is one reason it attempts to hide its role in the travel insurance program

   through false statements on its website.

          3.      The Defendant, in order to obtain illegal monetary kickbacks from the sale of

   travel insurance policies on its website (which it is legally prohibited from receiving), knowingly

   participates in a racketeering enterprise involving multiple other entities.      This enterprise,

   comprised of Defendant, AGA Service Company d/b/a Allianz Global Assistance (“Allianz”),

   Jefferson Insurance Company, BCS Insurance Company and additional, unnamed co-

   conspirators, is engaged in an ongoing pattern of racketeering activity resulting in direct harm to

   Plaintiffs and the proposed class.

          4.      Delta’s participation in this racketeering enterprise is knowing and willful,

   evidenced by a written agreement that it possesses with other members of the enterprise. Indeed,

   each participant in the enterprise has acknowledged its participation through a written agreement.

          5.      All of these activities have harmed Plaintiff and the proposed class of consumers,

   as Plaintiff and each member of the proposed class have suffered an out of pocket loss through

   the payment of undisclosed and illegal commission kickbacks.




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                             PARTIES, JURISDICTION, AND VENUE

          6.      Plaintiff Walter Cappillo is an individual who is domiciled in, and is thus a citizen

   of, Florida. Plaintiff brings this action pursuant to 18 U.S.C. § 1964 to obtain injunctive relief

   and to recover damages, including treble damages, attorney’s fees and costs of suit arising from

   Defendant’s violations of the RICO statute, 18 U.S.C. § 1962, as well as violations of state law.

          7.      Plaintiff Judith Donoff is an individual who is domiciled in, and is thus a citizen

   of, Florida. Plaintiff brings this action pursuant to 18 U.S.C. § 1964 to obtain injunctive relief

   and to recover damages, including treble damages, attorney’s fees and costs of suit arising from

   Defendant’s violations of the RICO statute, 18 U.S.C. § 1962, as well as violations of state law.

          8.      Defendant Delta is a Delaware corporation with its principal place of business in

   Georgia. It does business regularly throughout the United States, including in Florida. Delta also

   maintains a registered agent in Florida.

          9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1331 because this is an action arising under the laws of the United States. Additionally, this

   Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A)

   because this is a class action for a sum exceeding $5,000,000.00, exclusive of interest and costs,

   and in which at least one class member is a citizen of a state different from Delta.

          10.     This Court has personal jurisdiction over Delta because the causes of action

   asserted herein arise from (i) Delta operating, conducting, engaging in, or carrying on a business

   or business venture in this state and (ii) Delta committing a tortious act within this state. This

   Court further has personal jurisdiction over Delta based on its consent and waiver by establishing

   a registered agent in Florida for the purpose of receiving service of process. This Court also has

   personal jurisdiction over Defendant pursuant to 18 U.S.C. § 1965 because Defendant resides, is



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   found, has an agent, or transacts its affairs in this judicial district. Moreover, Delta purposefully

   availed itself of Florida’s consumer market through the advertisement, promotion, and sale of

   trip insurance policies in Florida.

           11.     Venue is proper in this Court, pursuant to 28 U.S.C. §§ 1391(b) and (c) because

   Delta resides in this district for purposes of the statute, as it is subject to the personal jurisdiction

   of this Court for purposes of this action. Moreover, a substantial part of the events or omissions

   giving rise to the claims occurred in this district. Venue is also proper in this Court pursuant to

   18 U.S.C. § 1965 because Defendant resides, is found, has an agent, or transacts its affairs in this

   judicial district and the ends of justice require that other parties residing in any other district be

   brought before the court.

                    FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

           12.     In addition to operating flights nationwide, Delta operates hundreds of daily

   flights to and from sixteen different airports in Florida. As part of its business, Delta sells tickets

   to consumers through its website, www.delta.com.

           13.     When a consumer visits Delta’s website, the site allows the consumer to select his

   or her preferred destination and travel dates.

           14.     Upon the consumer’s selection of his or her specific flights, Delta’s website

   provides the consumer with the price to purchase the selected flights.

           15.     Before the consumer completes his or her purchase, Delta’s website requires

   consumers to make an election regarding purchasing a trip insurance policy with a third-party

   insurance provider. There is no way to purchase a ticket on Delta’s website without making an

   election regarding trip insurance.

           16.     Delta markets the third-party trip insurance to its consumers in a uniform



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   fashion—each consumer sees the same marketing language when purchasing a ticket.

          17.     After the consumer selects the desired flights, the consumer must proceed to a

   page to enter passenger information and contact information. After entering this information, the

   consumer has two options: “Skip to Payment” or “NEXT: TRIP EXTRAS.”

          18.     If the consumer selects the “NEXT: TRIP EXTRAS” button, the consumer is

   brought to a webpage to select “Trip Extras” for purchase, which include in-flight Wi-Fi and a

   “Mileage Booster.”

          19.     Under the available “Trip Extras,” there is a breakdown of charges for “Total Trip

   Extras,” “Flight Total,” and “Trip Total.”

          20.     After selecting any “Trip Extras,” the consumer must select a button that reads

   “REVIEW + PAY” in order to continue with the purchase.

          21.     After selecting “REVIEW + PAY,” or after selecting “Skip to Payment” on the

   prior webpage, the consumer is brought to a webpage to finalize payment. Regardless of whether

   the consumer, selects “Skip to Payment” or selects “NEXT: TRIP EXTRAS” and then

   “REVIEW + PAY,” the consumer will ultimately arrive at the same payment webpage.

          22.     This page contains a section for the consumer to select his or her method of

   payment and input his or her payment information. A section below the fields for entry of

   payment information relates to trip insurance. It is titled “RECOMMENDED: ADD TRIP

   INSURANCE.” On the same line as this heading, the section states: “*REQUIRED: PLEASE

   SELECT YES OR NO TO CONTINUE.” Under this heading is the line: “Protect your trip to

   [Destination] for $[Price] total.” Next to this line is a green text box with an arrow pointing to

   the price that states: “Highly Recommended.” Under this, there is a line that states: “Peace of

   mind is only a click away.” This is followed by a list of reasons to purchase trip insurance, with



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   each itemized reason preceded by a green checkmark. This is followed by a quote from USA

   today, which states: “We can’t predict who will get sick, if Mother Nature will cancel flights or

   if luggage gets lost, but we can play it safe by purchasing protection.” This is then followed by a

   line that states how many “customers protected their trip in the last 7 days.”

          23.     To the right of this marketing language, there is a “YES” and “NO” button, one of

   which must be selected by the consumer to complete the ticket purchase. Under the “NO” button

   is the following language: “I understand by selecting ‘No’ I am declining coverage and I am

   responsible for all cancellation fees and delay expenses for my $[Price] trip.”

          24.     Consumers are required to make an insurance election, as they are unable to

   proceed with purchasing their airline tickets on Delta’s website until they choose whether to

   purchase a trip insurance policy. The consumer cannot simply ignore the insurance offering and

   move on to purchasing a ticket.

          25.     If the consumer selects the “YES” button, it turns green and a green icon with a

   checkmark appears next to the button. If the consumer selects “NO,” the button turns red and a

   red icon with an exclamation point appears next to the button.

          26.     This marketing is intended to create the impression that the trip insurance is in the

   consumer’s best interest—while hiding the fact that Delta is pushing the product because it is in

   its financial interest to generate sales. In other words, the consumer is deceived into believing

   that Delta is acting in the consumer’s best financial interest, and not its own.

          27.     Throughout the online process of purchasing a flight ticket and trip insurance,

   Delta leaves the consumer with the false impression that the charge for trip insurance is a pass-

   through fee, i.e., a fee that is passed on to another entity and for which Delta has no financial

   interest. The net impression of Delta’s representations and omissions to consumers is that, when



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   consumers purchase a trip insurance policy, the funds to cover the policy’s cost go to an

   independent third-party insurance company, whom Delta falsely identifies as the company

   brokering the policy for sale to the consumer. Indeed, Delta identifies this same insurance

   company as “the licensed producer,” or insurance agent, for the trip insurance policies. In reality,

   and despite lacking a license to broker insurance policies, Delta retains or ultimately receives an

   undisclosed kickback from every policy sold and acts as the broker for all trip insurance policies

   sold on its website.

          28.     For example, Delta includes the green textbox with the word “Recommended” at

   the top of the insurance-election section, and then represents to the consumer that the party

   “recommending” the purchase of insurance is AGA Service Company, not Delta. This

   representation is false and deliberately designed to hide Delta’s financial interest in the purchase

   of trip insurance policies. Delta is also recommending trip insurance policies to its consumers in

   order to generate illegal kickbacks for itself, and its false statements are designed to induce more

   consumers to purchase insurance policies, with the belief that all of their premium is passed to

   the actual insurer.

          29.     After the section that portrays the trip insurance policies as something in the

   consumer’s best financial interest, Delta proceeds to conceal its financial motivation in pushing

   the product by stating that a different entity—AGA Service Company—is the entity

   recommending and brokering the trip insurance policies being sold on its website.

          30.     Specifically, below the marketing language is the following language. “Terms,

   conditions and exclusions apply. Benefits underwritten by BCS Insurance Company or Jefferson

   Insurance Company, depending on your state of residence. Recommended by AGA Service

   Company, the licensed producer and administrator of this plan.” (emphasis added).



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          31.      Delta’s website thus represents to the consumer that it is AGA Service Company,

   and not Delta, who is recommending the trip insurance and who is “the licensed producer” for

   the trip insurance policies. This is another false statement that Delta makes to its consumers in

   order to hide its financial interest in the travel insurance program and induce more of its

   consumers to purchase policies.

          32.      A “producer” is insurance parlance for an insurance agent or broker, i.e., the one

   who makes a commission on the sale of insurance. Thus, by stating that AGA Service Company

   is “the” producer, Delta represents that it is not acting as an agent or broker, i.e., it is not making

   a commission on sales of trip insurance policies.

          33.      In fact, Delta cannot sell insurance to the consumer (and thus cannot receive

   commissions on sales) because it is not licensed as an insurer or insurance agent in Florida or

   anywhere else. However, Delta is in fact acting as an unlicensed insurance agent and/or broker,

   receiving insurance commissions to which it has no legal entitlement. Delta is aware that due to

   its lack of a license, it cannot receive commissions from sales of travel insurance products on its

   website.     Specifically,




                                                                                                    Id. at

   000000284-285.

          34.      Like Florida, other states across the country prohibit the unlicensed sale or

   brokerage of insurance, including the receipt of commissions by people or entities without a

   license. For example, the New York Attorney General’s Office has issued an official opinion



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   that an insurer may not pay any commission to transportation companies for the sale of travel

   insurance unless the transportation company is a licensed and appointed insurance agent or

   broker. See Ex. 2, N.Y. General Counsel Opinion No. 4-23-2008 (“May an insurer pay an

   insurance commission to a cruise line or tour operator that is not a licensed and appointed

   insurance agent, or a licensed insurance broker? . . . No. An insurer may not pay an insurance

   commission to a cruise line or tour operator that is not either a licensed and appointed insurance

   agent, or a licensed insurance broker.”).

           35.     Further enhancing the idea that the trip insurance is a pass-through charge is the

   presentation of the invoice. When a consumer buys a trip insurance policy on Delta’s website,

   the cost of the policy is not included in the consumer’s bill for the purchased airfare. Rather the

   consumer’s insurance cost is itemized separately even though the airfare and trip insurance cost

   are paid via a one-time credit card charge on Delta’s website. In contrast, when a consumer

   elects to purchase from Delta a seat upgrade or “Trip Extra,” the cost of that “add on” is included

   in the fare price. The lack of inclusion of the trip insurance cost in the consumer’s airfare

   purchase price further indicates to the consumer that Delta treats the insurance cost as a pass-

   through charge, not as a profit vehicle for itself.

           36.     Moreover, if a consumer seeks to have questions answered about the insurance

   offered on Delta’s website, the “terms, conditions and exclusions apply” link takes the consumer

   to an Allianz Global Assistance (“Allianz”) link. That link notes that, if the consumer changes

   her mind about the purchase, “[w]ithin 10 days of purchasing the program, Allianz Global

   Assistance will process a full refund of premium to you.” Conspicuously absent in that

   representation is any mention of Delta, further evidence that Defendant represents the trip

   insurance as a “pass through” charge, wherein it is simply a conduit for funds to Allianz without



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   any profit interest.

           37.     Upon information and belief, the insurance policy prices on Delta’s website are

   predicated upon a simple formula wherein a consumer is charged a fixed percentage of her ticket

   price for the travel insurance policy. This pricing mechanism for a consumer’s travel insurance

   policy perfectly reveals the inherent illegality of the entire travel insurance program. The actual

   insurance underwriters for the insurance policies, which Plaintiff believes to be Jefferson

   Insurance Company and BCS Insurance Company, do not perform any underwriting on the

   individual customer level. Instead, policies are automatically issued to consumers when Delta

   collects their credit card payment for the insurance premium on its website. As a result, there is

   no correlation whatsoever between the actual insurance risk that is being underwritten and the

   policy cost. This allows Delta to make unconscionable commission profits.

           38.     Therefore, Delta and the members of this illegal enterprise are not charging any

   stated filed rate for these insurance policies, rather they are using a simple formula tied to ticket

   price that is wholly unrelated to the actual risks being underwritten. In fact, members of the

   racketeering enterprise submit false filings to the various state regulators that 1) hide Delta’s role

   in receiving unlicensed commission kickbacks; and 2) misstate how consumers are charged for

   these travel insurance policies. Indeed, Allianz and Delta are both well aware of the need to hide

   their illegal commission payments from government regulators.




                                             Ex. 3, Delta 000000190 (emphasis added).

           39.     Incredibly, despite having this express knowledge,




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          40.     Additionally, Delta’s website has a webpage entitled “Trip Protection” for

   consumers who seek more information about the insurance offered on Delta’s website. This

   webpage contains the Allianz logo and repeats the statement: “AGA Service Company is the

   licensed producer and administrator of these plans.” This is another false statement to the

   consumer designed to induce additional policy purchases, as it is Delta who plays the role of

   insurance producer.

          41.     On the same page Delta tells consumers the “U.S. State Department recommends

   trip protection,” and that “Allianz Global Assistance is a trusted Delta partner and the leader in

   the travel insurance and assistance industry.”

          42.     Another webpage on Delta’s website is entitled “Taxes & Carrier-Imposed Fees.”

   On this webpage, Delta tells the consumer: “We don’t want you to have any unpleasant surprises

   on your bill. We're making every effort to let you know about any taxes and carrier-imposed fees

   that might be included.” This is followed by an extensive list of various fees. Nowhere on this

   list is there any disclosure of Delta’s retention or receipt of a commission or kickback for every

   trip insurance policy sold on its website.

          43.     These false statements and material omissions to the consumer on Delta’s

   website, especially Delta’s representation that another entity is “the producer” of the trip

   insurance policies, reinforce the impression of the trip insurance premium as a pass-through



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   charge—one where Delta has no profit interest in the sales of trip insurance policies on its

   website.

           44.      Delta’s representation that another entity is “the producer” of the trip insurance is

   also an affirmative misrepresentation because Delta’s actual role in the sale of the trip insurance

   policies is analogous (if not identical) to that of an insurance agent, who receives commissions

   on policies sold. In addition to AGA Service Company, Delta is or acts as an insurance agent and

   is also a “producer” of the trip insurance policies.

           45.      Delta’s false representations and material omissions necessarily inform the

   consumer that Delta does not receive a commission or otherwise profit from the sale of trip

   insurance. However, Delta does in fact receive substantial percentage-based commission profits,

   totaling                                                                See Ex. 6, Delta’s Response

   to Plaintiff’s First Interrogatories.

           46.      After a consumer elects to purchase a trip insurance policy and proceeds to

   complete the purchase of an accompanying airfare, Allianz, not Delta, sends the consumer an

   email containing a copy of the purchased insurance policy. Nowhere in that communication or

   accompanying insurance policy is there any reference to Delta having a role in the provision of

   the insurance.

           47.      The net impression of all of Delta’s representations and omissions to its

   consumers on its website and during the online purchase process—including, but not limited to,

   Delta’s assertion that another entity is “the” producer for the insurance (and by necessary

   implication, Delta is not)—is that the cost of the trip insurance policies is a pass-through charge,

   where Delta simply collects the money for the insurance policy from the consumer and forwards

   it on to the actual insurance provider, without any profit interest in the charge.



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          48.     This net impression is reinforced by the fact that state laws generally prohibit the

   unlicensed sale of insurance, including the receipt of commissions on sales of insurance.

          49.     It is thus reasonable for consumers to expect that Delta is not receiving a

   commission or any other remuneration from any sales of insurance.

          50.     In reality, and completely unbeknownst to its consumers, the trip insurance is a

   hidden profit center for Delta, as Delta retains or ultimately receives for itself a portion of the

   funds for every trip insurance policy its consumers purchase on its website.

          51.     Delta, instead of disclosing its profit interest in the trip insurance policies sold on

   its website, disguises its financial interest by leaving consumers with the impression that the cost

   of an insurance policy is a “pass through” charge. Indeed, Delta affirmatively tells consumers

   that a different entity is “the producer” of the insurance, without any suggestion or indication that

   Delta is retaining or ultimately receiving a portion of this charge for itself.

          52.     This is in contrast to other charges that Delta offers on its website, such as more

   desirable seats and early boarding rights, where Delta bundles the cost of these optional fees into

   the overall price of a consumer’s ticket, thereby signaling Delta’s profit interest to the consumer.

          53.     The trip insurance program on Delta’s website represents an illegal kickback

   scheme—one in which Delta hides and misleads consumers about its role and profit interest in

   the insurance policies sold on its website.

          54.      To facilitate this kickback scheme, and its inherent illegality, Delta routes

   insurance premium payments through its website at the point of sale for airline tickets. Through

   the use of interstate wires, those consumer insurance funds are then routed to other members of

   the enterprise. Those members in turn take a portion of those consumer insurance premium

   funds and, through use of the interstate wires, route funds back to Delta, disguised as a



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   premium.

          60.      On or about April 10, 2018, Plaintiff Judith Donoff purchased a trip insurance

   policy on Delta’s website. Ms. Donoff received an email from the insurance provider attaching

   her policy, neither of which referenced Delta or Delta’s receipt of a portion of her insurance

   premium.

          61.      Delta has never disclosed to Plaintiffs, or any of the class members, the true

   nature of its relationship with Allianz, Jefferson Insurance Company, or BCS Insurance

   Company. Specifically, Delta has not disclosed the fact that it retains or receives a substantial

   kickback or commission on the policies made available on its website. Instead, it engages in a

   pattern of false statements to hide this fact. Delta’s agreement with Allianz, however, expressly

   states that Delta




                                  CLASS ACTION ALLEGATIONS

          62.      Plaintiffs bring this lawsuit as a class action pursuant to Federal Rule of Civil

   Procedure 23.

          Class Definition

          63.      Plaintiffs seek to represent the following class:

          All persons in the United States who purchased a trip insurance policy on Delta’s website
          within the applicable limitations period (the “Class Period”).

          Excluded from this class are Delta, its affiliates, subsidiaries, agents, board members,
          directors, officers, and employees. Also excluded from the class are the district judge and
          magistrate judge assigned to this case, their staff, and their immediate family members.

          64.      This class action is brought pursuant to Rule 23(b)(2) because Delta has acted or

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   refused to act on grounds generally applicable to all the members of the class, thereby making

   final injunctive relief or declaratory relief concerning the class appropriate.

          65.     This class action is also brought pursuant to Rule 23(b)(3) because the questions

   of law or fact common to Plaintiffs’ claims and the class members’ claims predominate over any

   question of law or fact affecting only individual class members and a class action is superior to

   other available methods for fairly and efficiently adjudicating the controversy.

          66.     Delta has subjected Plaintiffs and the members of the class to the same unfair,

   unlawful, and deceptive practices and harmed them in the same manner. The conduct described

   above is Delta’s standard business practice.

          A.      Numerosity

          67.     The individual class members are so numerous that joinder of all members in a

   single action is impracticable. Delta operates thousands of flights a day, and upon information

   and belief, it has sold thousands of trip insurance policies during the Class Period.

          68.     While Plaintiffs estimate the proposed class numbers in the millions, the exact

   number of class members, as well as the class members’ names and addresses, can be identified

   from Delta’s or the insurer’s business records.

          B.      Commonality/Predominance

          69.     Common questions of law and fact exist as to Plaintiffs’ and the class members’

   claims. These common questions predominate over any questions solely affecting individual

   class members, including, but not limited to, the following:

                  a.      Whether Delta violated 18 U.S.C. § 1962(c) or (d);




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                   b.      Whether Delta engaged in a deceptive and unfair business practice by

   misleading the class about its financial interest in making available trip insurance policies and its

   receipt or retention of a kickback;

                   c.      Whether the representations made about insurance premiums collected by

   Delta would lead the reasonable consumer to believe it was a pass-through charge;

                   d.      Whether Delta receives undisclosed kickbacks, commissions, or fees from

   the sale of trip insurance;

                   e.      Whether Delta manipulated the class through trip insurance products in

   order to maximize its own profits at the expense of the class;

                   f.      Whether Delta retains or receives a commission or kickback for the sale of

   trip insurance policies without a license;

                   g.      Whether and to what extent Delta’s conduct has caused injury to the

   Plaintiffs and the class members; and

                   h.      Whether Delta unlawfully enriched itself at the expense of the class.

           C.      Typicality

           70.     Plaintiffs’ claims are typical of the putative class members’ claims because of the

   similarity, uniformity, and common purpose of Delta’s unlawful conduct. Plaintiffs, like all class

   members, were damaged through their payment of money that Delta deceptively presented as a

   pass-through charge to the insurance company, when in fact Delta illegally enriched itself in this

   process.

           71.     Each class member has sustained, and will continue to sustain, damages in the

   same manner as Plaintiffs as a result of Delta’s wrongful conduct and willful nondisclosures.

           D.      Adequacy



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          72.     Plaintiffs will fairly and adequately protect and represent the interest of each

   member of the class because they have suffered the same wrongs as the class members.

          73.     Plaintiffs are fully cognizant of their responsibilities as class representatives and

   have retained León Cosgrove, LLP and Robbins Geller Rudman & Dowd LLP to prosecute this

   case. León Cosgrove, LLP and Robbins Geller Rudman & Dowd LLP are experienced in

   complex class action litigation, including litigation related to unfair and deceptive trade

   practices, and have the financial and legal resources to meet the costs of and understand the legal

   issues associated with this type of litigation.

          74.     Class action treatment is superior to the alternatives, if any, for the fair and

   efficient adjudication of the controversy alleged herein because such treatment will permit a

   large number of similarly-situated persons to prosecute their common claims in a single forum

   simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

   expense that numerous individual actions would engender.

          E.      The Prerequisites of Rule 23(b)(2) Are Satisfied.

          75.     The prerequisites to maintaining a class action for injunctive and equitable relief

   pursuant to Federal Rule of Civil Procedure 23(b)(2) exist as Delta has acted or refused to act on

   grounds generally applicable to the class, thereby making appropriate final injunctive and

   equitable relief with respect to the class as a whole.

          76.     Delta’s actions are generally applicable to the class as a whole, and Plaintiffs

   seek, among other things, equitable remedies with respect to the class as a whole.

          F.      The Prerequisites of Rule 23(b)(3) Are Satisfied.

          77.     The questions of law and fact enumerated above predominate over questions

   affecting only individual members of the class, and a class action is the superior method for fair



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   and efficient adjudication of the controversy.

             78.   The likelihood that individual members of the class will prosecute separate

   actions, and their interest in so doing, is small due to the extensive time and considerable

   expense necessary to conduct such litigation.

             79.   This action will be prosecuted in a fashion to ensure the Court’s able management

   of this case as a class action on behalf of the class. Plaintiffs know of no difficulty likely to be

   encountered in the management of this action that would preclude its maintenance as a class

   action.

                                COUNT I
     VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT

             80.   Plaintiffs re-allege paragraphs 1 through 79 as if fully set forth herein and further

   allege the following.

             81.   This count is brought pursuant to the Florida Deceptive and Unfair Trade

   Practices Act (“FDUTPA”).

             82.   At all times material, Plaintiffs and all members of the class were consumers

   within the meaning of Section 501.203, Fla. Stat., and are entitled to relief under FDUTPA in

   accordance with Section 501.211, Fla. Stat.

             83.   At all times material, Delta conducted trade and commerce within the meaning of

   Section 501.203, Fla. Stat.

             84.   Delta has engaged in unlawful schemes and courses of conduct through one or

   more of the unfair and deceptive acts and practices alleged above.

             85.   The misrepresentations and deceptions, and concealment and omissions of

   material facts, alleged in the preceding paragraphs occurred in connection with Delta’s trade and

   commerce in Florida.

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            86.   Delta’s unfair and deceptive acts and practices violate FDUTPA, Section 501.201

   and 501.211, Fla. Stat.

            87.   As a direct and proximate result of Delta’s FDUTPA violations, Plaintiffs and the

   class have been damaged in an amount to be proven at trial. Plaintiffs and the class have a

   monetary, out of pocket loss, as they paid money to Delta as a result of its deceptive conduct.

            88.   Plaintiffs and the class are entitled to actual damages, declaratory and injunctive

   relief, attorneys’ fees and costs, and all other remedies available under FDUTPA.

                                            COUNT II
                                       UNJUST ENRICHMENT

            89.   Plaintiffs re-allege paragraphs 1 through 79 as if fully set forth herein and further

   alleges the following.

            90.   This is a count for unjust enrichment.

            91.   Plaintiffs and each member of the class conferred a direct benefit on Delta

   through their payment for trip insurance, allowing Delta to enrich itself to the detriment of the

   class.

            92.   Delta appreciated, accepted, and retained this benefit, as it garnered substantial

   profits by virtue of its insurance kickback scheme.

            93.   Under the circumstances, it would be unjust and inequitable to allow Delta to

   retain this benefit, as it was obtained through deceptive representations.

            94.   Independently, it would also be unjust and inequitable to allow Delta to retain this

   benefit because Delta is not legally entitled to receive commissions for sales of trip insurance in

   the first place because it does not have a license to broker insurance.

            95.   Plaintiffs and the class suffered damages as a result of Defendant’s unjust

   enrichment.

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                               COUNT III
     VIOLATION OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                      ACT (“RICO”), 18 U.S.C. § 1962(C)

             96.   Plaintiffs re-allege paragraphs 1 through 79 as if fully set forth herein and further

   alleges the following.

             97.   This is a count for violations of the Racketeer Influenced and Corrupt

   Organizations provisions of the Organized Crime Control Act of 1970 (RICO), 18 U.S.C. § 1961

   et seq.

             98.   At all relevant times, Defendant Delta conducted and participated in the affairs of

   an enterprise through a pattern of racketeering activity consisting of numerous and repeated uses

   of the interstate mail and wire facilities to execute a scheme to defraud, as well as repeated acts

   of money laundering, all in violation of RICO, 18 U.S.C. § 1962(c). The predicate acts of

   racketeering carried out by the enterprise include the sale of hundreds of thousands of travel

   insurance policies to the class through fraudulent representations on Defendant’s website,

   hundreds of thousands of invoices sent through the mail and wire facilities, the receipt of illegal

   kickbacks through use of the mail and wire facilities, the submission of false documentation

   through the mail and wire facilities, and the illegal laundering of monetary instruments. The

   scheme to defraud had the express purpose of allowing Delta to obtain from its consumers

   monies to which it has no legal entitlement, namely portions of consumers’ insurance premiums,

   by lying to consumers about Defendant’s role in and relationship to the travel insurance products

   sold on its website. See Exs. 1-10.

             99.   The RICO enterprise which Delta engaged in, and the activities of which affected

   interstate and foreign commerce, is comprised of Defendant, Allianz Global Assistance

   (“Allianz”), BCS Insurance Company (“BCS”), Jefferson Insurance Company (“Jefferson”), and



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   other unnamed co-conspirators. Each member of the enterprise has a written agreement with

   Allianz setting forth its role and participation in the enterprise. See, e.g., Ex. 10.        These

   contracts form the structure of the enterprise.

           100.   The enterprise and its activities are ongoing, and its common purpose is to enrich

   the Defendant at the expense of the class members. The enterprise acted to deceive and hide

   from the class members the fact that Allianz was paying an undisclosed and illegal kickback to

   Delta when each class member purchased a travel insurance policy.

           101.   The enterprise has functioned for over four years as a continuing unit and has

   maintained an ascertainable structure separate and distinct from the pattern of racketeering

   activity.

           102.   Delta conducted and participated in the affairs of the RICO enterprise through a

   pattern of racketeering activity that consisted of numerous and repeated violations of federal mail

   and wire fraud statutes, which prohibit the use of any interstate or foreign mail or wire facility

   for the purpose of executing a scheme to defraud, in violation of 18 U.S.C. § 1341 and § 1343.

   Defendant further participated in the enterprise by engaging in the laundering of monetary

   instruments in violation of 18 U.S.C. § 1956. This conduct and these predicate acts, with the

   resultant harm to Plaintiffs and class members, continues on a daily basis, establishing a long-

   term threat of racketeering activity and evidencing the continuity of Defendant’s open-ended

   pattern of racketeering activity.

           103.   The scheme to defraud included deceiving Plaintiffs and class members into

   believing that when they purchased a travel insurance policy on Defendant’s website, the price

   displayed represented the cost of the policy. In reality, the insurance premium price includes a

   large kickback to Delta. Defendant had a duty to correct this mistaken impression but failed to



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   do so in order to increase its profits from the sale of insurance policies to class members. Delta’s

   omission was material, as it increased the cost of Plaintiffs’ and Class Members’ insurance

   premiums. Plaintiffs and the class are not paying insurance premiums predicated upon the

   underwritten risk, rather they are paying higher prices to cover an illegal kickback that Allianz

   pays to Delta.

          104.      The scheme to defraud was executed through multiple false statements on Delta’s

   website, as noted supra, all designed with the express purpose of inducing consumers to

   purchase travel insurance policies by falsely representing Delta’s role in the sale of policies.

          105.      In addition to Delta’s use of the wires to deceptively market and sell the travel

   insurance product, Allianz sent class members insurance policies through mail and wire

   facilities, all of which were in furtherance of the enterprise’s scheme, as none of them disclosed

   the payment of illegal kickbacks.

          106.      Moreover, Allianz utilized the federal wire and mail facilities to make payments

   of illegal kickbacks to Delta. Therefore, Allianz has committed tens of thousands of distinct

   violations of 18 U.S.C. § 1341 and § 1343 during the class period.

          107.      Delta and Allianz separately engaged in multiple acts of money laundering in

   violation of 18 U.S.C. § 1956. The federal anti-money laundering statute prohibits, among other

   things, an entity from engaging in financial transactions, knowing that the proceeds of those

   transactions derive from illegal activity, with the intent of promoting unlawful activity. That is

   exactly what Delta and other members of the enterprise do here. As stated, Delta lacks a license

   to conduct the business of insurance, and as such it is prohibited from receiving commissions

   stemming from sales of travel insurance policies. Defendant knows that it 1) lacks a license; and

   2) cannot receive commissions as a result. See Ex. 1. To enable itself to receive commissions



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   while hiding the true nature of the payments it is receiving, Delta and Allianz violate 18 U.S.C. §

   1956. Specifically, monies are collected from consumers on Delta’s website who elect to

   purchase a travel insurance policy, and then those funds are routed to Allianz. Allianz, in turn,

   takes the same consumer insurance premium money and, through a financial transaction, returns

   a substantial portion of it to Delta each month, disguised as a “marketing” or “advertising” fee.

   See id. In reality, the payments are commissions, and both Allianz and Delta know this, but they

   hide the true nature of the transaction in order to allow Delta to receive commission payments

   that it is legally prohibited from receiving. See id and Exs. 2-5.

           108.   Each of these violations was related because they shared the common purpose of

   defrauding class members by failing to disclose the payment of illegal kickbacks of class

   member insurance premiums. These related criminal acts had the same or similar purpose,

   results, participants, victims, and methods of commission, and are otherwise related by

   distinguishing characteristics which are not isolated events.

           109.   Finally, Allianz, BCS and Jefferson committed additional acts of mail and wire

   fraud by submitting fraudulent documents to state regulators, all of which were designed to hide

   the operation of the RICO enterprise. Specifically, all of these entities submitted regulatory

   filings that failed to disclose the illegal payment of commissions to Delta, and that also falsely

   stated the price that the insurers were charging consumers for a policy.

           110.   Allianz, BCS, and Jefferson are insurance companies regulated by respective state

   entities.

           111.   One aspect of this regulation is that insurers and other related entities, including

   Allianz, BCS, and Jefferson, are required to provide the states certain information regarding the

   use of a brokering agent and the payment of commissions.



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          112.    Delta’s role in the sale of trip insurance policies on its website is materially

   equivalent to that of an insurance agent or broker.

          113.    Delta submits business for trip insurance risks to Allianz, BCS, and Jefferson.

          114.    In exchange, it is paid a commission or kickback for each trip insurance policy

   sold through its website.

          115.    Under state insurance regulations, Allianz, BCS, and Jefferson must report to the

   state a list of agents who provide them with insurance risks as great as that coming from Delta.

          116.    Instead of abiding by these requirements, Allianz, BCS, and Jefferson make

   material misrepresentations in their reports to and filings with state agencies by failing to

   disclose the amount of risk they receive from Delta, who is acting as an insurance agent. Allianz

   also fails to disclose the kickbacks it pays to this unlicensed agent.

          117.    Delta is not a licensed insurance agent in any state.

          118.    The material omissions of Allianz, BCS, and Jefferson allow the kickback scheme

   described supra to continue, to the detriment of Plaintiffs and class members.

          119.    Collectively, these predicate acts demonstrate that Delta had the specific intent to

   participate in the overall RICO enterprise, which was evidenced by its scheme to defraud

   Plaintiffs and class members. The scheme was designed to deceive Plaintiffs and class members

   through the implementation and execution of an illegal kickback scheme. Plaintiffs and the class

   members relied on the uniform false statements and omissions from Delta and the enterprise co-

   conspirators—that the full customer premium went to the cost of the travel insurance policy--to

   their detriment.

          120.    Delta used and invested the income it received through its pattern of racketeering

   activity to operate its business, which caused direct damage to Plaintiffs and class members.



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          121.    As a result of Delta’s participation in the racketeering activity set forth herein,

   Plaintiffs and class members have incurred significant damages. Plaintiffs and class members

   paid a price for a travel insurance policy that had no relation to the underwritten risk, but rather

   was inflated to cover the cost of an illegal kickback to Delta. This results in consumers paying

   prices for insurance policies that are higher than they would be absent the Defendant’s

   misconduct.

                               COUNT IV
     VIOLATION OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                      ACT (“RICO”), 18 U.S.C. § 1962(D)

          122.    Plaintiffs re-allege paragraphs 1 through 79 and 97 through 121 as if fully set

   forth herein and further allege the following.

          123.    At all relevant times, Delta was associated with the enterprise and agreed and

   conspired to violate 18 U.S.C. § 1962(c), that is agreed to conduct and participate, directly and

   indirectly, in the conduct and affairs of the enterprise through a pattern of racketeering activity in

   violation of 18 U.S.C. § 1962(d).

          124.    Defendant engaged in a scheme to defraud Plaintiffs and class members by

   marketing the travel insurance product through false and deceptive statements, while hiding the

   payment of illegal commission kickbacks, wherein the Defendant received a substantial portion

   of Plaintiffs’ and class members’ insurance premiums, without any legal entitlement.

          125.    Defendant committed, or caused to be committed, a series of overt acts in

   furtherance of the conspiracy and to affect the objects thereof, including but not limited to the

   payment and receipt of illegal kickbacks and the related acts of mail fraud, wire fraud and money

   laundering set forth above.

          126.    As a result of Defendant’s violations of 18 U.S.C. § 1962(d), Plaintiffs and the



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   class members suffered direct damages.

                                       PRAYER FOR RELIEF

          Named plaintiffs and the plaintiff class request the following relief:

                 a. Certification of the class;

                 b. A jury trial and judgment against Delta;

                 c. An order requiring Delta to make full disclosure to consumers of its receipt or

                     retention of trip insurance premiums sold on its website and the amount of the

                     kickback it retains or receives;

                 d. The costs of suit, including reasonable attorneys’ fees, in accordance with

                     RICO and FDUTPA;

                 e. Compensatory and treble damages, attorneys’ fees, and costs under the federal

                     RICO statute;

                 f. Compensatory damages in an amount to be determined at trial, punitive

                     damages, cost of suit, including reasonable attorneys’ fees, in accordance with

                     the RICO statutes;

                 g. General, actual and compensatory damages in an amount to be determined at

                     trial;

                 h. Restitution of the amount Delta was unjustly enriched as a result of the

                     wrongs alleged herein, in an amount to be determined at trial;

                 i. Pre-judgment and post-judgment interest at the maximum rate permitted by

                     applicable law; and

                 j. Such other relief as the Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial as to all claims so triable.

   Dated: February 8, 2019                              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on February 8, 2019, I electronically filed the foregoing with the Clerk of

   the Court using the CM/ECF system, which in turn will serve a copy by Notice of Electronic

   Mail to all counsel of record.

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